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              IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                NO. 4:07CR00163-001 SWW

JACK RONDLE PIPKIN



                           JUDGMENT OF ACQUITTAL

      This action came on for trial on April 14, 2008, before the Court

and a jury, the Honorable Susan Webber Wright, United States District

Judge, presiding.     At the conclusion of testimony for the parties,

arguments of counsel and due deliberation by the jury on April 18, 2008,

a verdict of not guilty was returned on Counts 1, 6 and 13.

      IT IS THEREFORE ORDERED AND ADJUDGED that defendant Jack Rondle

Pipkin is hereby acquitted of the charges set out in Counts 1, 6 and 13

of the second superseding indictment and pursuant to            the verdict,

defendant is hereby discharged as to Counts 1, 6 and 13.

      Dated this 22nd day of April, 2008.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
